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                               UNITED STATES DISTRICT COURT
          10     FOR THE CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
          11     MASIMO CORPORATION,                       CASE NO. 8:20-cv-00048-JVS (JDEx)
                 a Delaware corporation; and
          12     CERCACOR LABORATORIES, INC.,              [PROPOSED] ORDER EXTENDING
                 a Delaware corporation,                   TIME FOR RULE 26(a) INITIAL
          13                                               DISCLOSURES AND JOINT RULE
                                    Plaintiffs,            26(f) REPORT
          14
                       v.
          15                                             Hon. James V. Selna
                 APPLE INC.,
          16     a California corporation,
          17                        Defendant.
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Gibson, Dunn &
Crutcher LLP
                  PROPOSED ORDER EXTENDING TIME FOR INITIAL DISCLOSURES AND JOINT RULE 26(F) REPORT
                                         Case No. 8:20-CV-00048-JVS (JDEX)
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            1          This matter is before the Court pursuant to the parties’ stipulation to extend the
            2    time to serve their Initial Disclosures and file the Joint Rule 26(f) Report. Based on the
            3    stipulation of the parties and good cause appearing due to the public health emergency
            4    throughout the State in response to the spread of COVID-19, IT IS HEREBY
            5    ORDERED that:
            6          1.     The parties’ Initial Disclosures will be due on April 14, 2020.
            7          2.     The parties’ Joint Rule 26(f) Report will be due on April 14, 2020.
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            9          IT IS SO ORDERED.
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          11     Dated:
                                                                 The Honorable James V. Selna
          12                                                     United States District Judge
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Gibson, Dunn &                                               2
Crutcher LLP
                  PROPOSED ORDER EXTENDING TIME FOR INITIAL DISCLOSURES AND JOINT RULE 26(F) REPORT
                                         Case No. 8:20-CV-00048-JVS (JDEX)
